        Case 21-32351 Document 1397 Filed in TXSB on 05/12/22 Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 IN RE:                                                              CHAPTER 11

 LIMETREE BAY SERVICES, LLC, et al. 1                                CASE NO.: 21-32351 (DRJ)

          Debtors.                                                   (Jointly Administered)


    FOURTH NOTICE OF EXTENSION OF BRIEFING SCHEDULE PURSUANT TO
     STIPULATION AND AGREED ORDER REGARDING INTERTEK USA INC.’S
         EMERGENCY MOTION FOR RELIEF FROM AUTOMATIC STAY
           PURSUANT TO 11 U.S.C. § 362(d) AND FOR WAIVER OF THE
            14-DAY STAY PURSUANT TO FED. R. BANKR. P. 4001(a)(3)

        PLEASE TAKE NOTICE that pursuant to paragraph 8 of the Stipulation and Agreed Order

Regarding Intertek USA Inc.’s Emergency Motion for Relief from Automatic Stay Pursuant to 11

U.S.C. § 362(d) and for Waiver of the 14-Day Stay Pursuant to Fed. R. Bankr. P. 4001(a)(3)

[Docket No. 1256] (the “Stipulation”), Limetree Bay Services, LLC and its debtor affiliates

(collectively, the “Debtors”), as debtors and debtors in possession in the above-captioned, jointly

administered chapter 11 cases (the “Chapter 11 Cases”), and Intertek USA Inc. (“Intertek”) have

agreed to extend (i) the deadline for the Debtors to file their Response Brief and any and all

supporting documents, exhibits, declarations, or other supporting evidence, including, without

limitation, any Separate Statement, from May 11, 2022 through and including May 23, 2022, (ii)

the deadline for Intertek to file any reply brief from May 18, 2022 through and including May 30,

2022, and (iii) the Evidentiary Hearing from May 24, 2022 to approximately two weeks thereafter



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree
Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
       Case 21-32351 Document 1397 Filed in TXSB on 05/12/22 Page 2 of 4




at a time to be determined subject to Court availability. Except as hereby expressly amended, the

Stipulation shall remain unaltered and in full force and effect. The foregoing extensions are without

prejudice to the Parties further extending such deadlines or otherwise extending the briefing

schedules and deadlines set in the Stipulation, subject to the terms and restrictions thereof or

subsequent order of the Court.

                                     [signature page follows]




                                                 2
     Case 21-32351 Document 1397 Filed in TXSB on 05/12/22 Page 3 of 4




Dated: May 12, 2022                      BAKER & HOSTETLER LLP

                                         /s/ Jorian L. Rose
                                         Elizabeth A. Green, Esq.
                                         Fed. ID No.: 903144
                                         SunTrust Center, Suite 2300
                                         200 South Orange Avenue
                                         Orlando, FL 32801-3432
                                         Telephone: 407.649.4000
                                         Facsimile: 407.841.0168
                                         Email: egreen@bakerlaw.com

                                         Jorian L. Rose, Esq.
                                         Admitted Pro Hac Vice
                                         N.Y. Reg. No. 2901783
                                         45 Rockefeller Plaza
                                         New York, New York 10111
                                         Telephone: 212.589.4200
                                         Facsimile: 212.589.4201
                                         Email: jrose@bakerlaw.com

                                         Michael T. Delaney, Esq.
                                         Admitted Pro Hac Vice
                                         OH Bar No. 99790
                                         Key Tower, 127 Public Sq.
                                         Suite 2000
                                         Cleveland, OH 44114
                                         Telephone: 216.621.0200
                                         Facsimile: 216.696.0740
                                         Email: mdelaney@bakerlaw.com

                                         Counsel for the Debtors and Debtors in
                                         Possession




                                     3
      Case 21-32351 Document 1397 Filed in TXSB on 05/12/22 Page 4 of 4




 Dated: May 12, 2022                    LEWIS BRISBOIS BISGAARD & SMITH LLP

                                        /s/ Vincent F. Alexander
                                        Vincent F. Alexander, Esq.
                                        Admitted Pro Hac Vice
                                        Fla. Bar No. 68114
                                        110 SE 6th Street, Suite 2600
                                        Fort Lauderdale, Florida 33301
                                        Tel.: 954-728-1280
                                        Fax: 954-728-1282
                                        Vincent.Alexander@lewisbrisbois.com

                                        Counsel for Intertek USA Inc.


                                  Certificate of Service

       I HEREBY CERTIFY that on May 12, 2022, a true copy of the foregoing was filed with
the Court using the CM/ECF System, which will provide notice of such filing to all parties
requesting such service.

                                         /s/ Jorian L. Rose
                                         Jorian L. Rose




                                            4
